                   Case 3:09-cv-00728-CFD      Document 32       Filed 06/09/10     Page 1 of 1
                                                                                                     Civil- (Dec-2008)
                                                     HONORABLE: DRONEY
                            DEPUTY CLERK D. Johnson             RPTR/ECRO/TAPE Marshall
TOTAL TIME:                  hours 30    minutes
                               DATE:  June 9, 2010 START TIME: 10:05       END TIME: 10:35
                                               LUNCH RECESS           FROM:                    TO:
                                       RECESS (if more than ½ hr)     FROM:                    TO:

CIVIL NO. 3:09CV728(CFD)


                     AHO                                                  Zarnetske
                                                                               Plaintiff’s Counsel
                              vs
                   ANTHONY, et al                                         Radshaw
                                                                               Defendant’s Counsel

                                       COURTROOM MINUTES- CIVIL

                   ✔ Motion hearing                      Show Cause Hearing
                       Evidentiary Hearing               Judgment Debtor Exam
                       Miscellaneous Hearing

✔ .....# 25        Motion to Dismiss                                      granted      denied ✔ advisement
   .....#          Motion                                                 granted      denied        advisement
   .....#          Motion                                                 granted      denied        advisement
   .....#          Motion                                                 granted      denied        advisement
   .....#          Motion                                                 granted      denied        advisement
   .....#          Motion                                                 granted      denied        advisement
   .....#          Motion                                                 granted      denied        advisement
   .....           Oral Motion                                            granted      denied        advisement
   .....           Oral Motion                                            granted      denied        advisement
   .....           Oral Motion                                            granted      denied        advisement
  .....            Oral Motion                                            granted      denied        advisement
   .....              Briefs(s) due              Proposed Findings due              Response due
  .............                                                                             filed    docketed
  .............                                                                             filed    docketed
  .............                                                                             filed    docketed
  .............                                                                             filed     docketed
   .............                                                                            filed    docketed
   .............                                                                            filed    docketed
   ............                        Hearing continued until                         at
